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                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

ROSARIO CANO                              :
          Plaintiff,                      :
                                          :
            v.                            :              No. 5:21-cv-01527
                                          :
KEYSTONE FOOD PRODUCTS, INC.              :
            Defendant.                     :
__________________________________________

                                        ORDER

       AND NOW, this 4th day of August, 2021, upon consideration of Plaintiff’s Amended

Complaint filed June 24, 2021, ECF No. 8, and of Defendant Keystone Food Products Inc.’s

failure to timely respond to the Amended Complaint, IT IS ORDERED THAT:

   1. On or before August 11, 2021, Defendant SHALL file an answer to Plaintiff’s

       Amended Complaint or show cause why default should not be entered.


                                                         BY THE COURT:



                                                         /s/ Joseph F. Leeson, Jr.________
                                                         JOSEPH F. LEESON, JR.
                                                         United States District Judge




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